Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Paget let(12)

Department of

To: BCA

DM! Benyanuin Lamb

Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES

Under New York City law, licensed process servers and process serving agencies must report a
scheduled traverse hearing (hearing contesting service) to the Department of Consumer Affairs
(DCA) within 10 days of receiving oral or written notice. See Title 6, Rules of the City of New
York § 2-236(c). Licensees may use Part I of this form to report the hearing. See the back for

submission methods.

Note: The licensed process server individual and the process serving agency for whom the individual
Serves process must each submit a completed Traverse Report Form.

PART I — REPORT OF HEARING

Date of Hearing L

{11

Cc - |
ourt (im |

New Yok.

Part

ndex No. Y
men 1 NOS2E1S

Judge N JA

Petitioner/Plaintiff

Nadir Genort Elie d

Petitioner/Plaintiff's Attorney (include firm's name)

Nucheel A. Pp0i2 00

Respondent/Defendant

Dovid hey Ic.

Respondent/Defendant’s Attorney (include firm's name)

NA

Date of Service a< (%

Process Server Name

Ren (arti (amb

DCA License No.

(OF 1YQD

Process Servidg Agency Assigning Service \ .
prez Tudicrod Srvicw tne

Lone # (OFTAZLS

IMPORTANT: Licensed process servers must report the result of the traverse hearing to DCA
within 10 days of learning it. Licensees may use Part II of this form, located on the back, to

report the result by e-mail, fax, or certified mail.

VAT SA eT ob low Adscwdentist Pg hehe 05/30/24 Page 2 of 12
TY DCA

Tro. Pen yjnun lamb Lick oziug OQ

Department of
Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES
PART II — REPORT OF RESULT

The licensed process server individual and the process serving agency must attempt to contact

the petitioner/plaintiff or the petitioner/plaintiff’s attorney by mail or e-mail to learn the result of
the traverse hearing.

If the licensee does not receive a response within 60 days, the licensee must search the court
records a minimum of two occasions for the result of the traverse hearing.

Within 100 days of the hearing date, the licensee must report to DCA either the result of the
traverse hearing OR that he/she made the required attempt to learn the result without success.
See Title 6, Rules of the City of New York § 2-23 6(c) (2011).

(ere a OY ee Ce)
Traverse was:

XQ Sustained (improper service)
0 Overruled (proper service)

0 Decision Reserved

0 Settled

U Did Not Learn Result

pO Tits eee

L was Not thle to abend-the Traverse Hea

ring
Signature 4 ) Hf Date 5/3) la,

Please use ONE of the following methods to submit this form and attachments to DCA:

e E-mail TraverseReports@dca.nve.gov OR
* Fax (212) 487-4390 OR
« Mail to: Department of Consumer A ffairs

Legal Division
42 Broadway, 9th Floor
New York, NY 10004

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 3of12

Department of
' Gonsumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES WHO SIGNED A CONSENT ORDER

Process servers and process serving agencies both must report a scheduled traverse hearing (hearing contesting
service) to the Department of Consumer Affairs (DCA) within 10 days of receiving oral or written notice that such a
hearing-has been scheduled. See Title 6, Rules of the City of New York 2-236(ad). Use Part I of this form to report
the scheduted hearing. Submit" this form: and any attachments to DCA by emailing TravetseReports@dea.nye.zay .

Note: Both process server and the process serving agency must gach submit a complete Traverse Report Form.

PART I - REPORT OF HEARING

Date af Hearing
Court Ol 20/ 20 C 1 County
yh Index N Prony.

+5 472-10
Judge
Dre 6 Lohwale

Petttioncr/Plalntiff Petitioncr/Plaintil's Attorney (include firm's name)

| WSS Ww) obesahkay corP Cold dlaera, Lustig < Skeckeer—

Responden Defendant ¥ Respondent/Defend "s Attorney (atlude firnt's name)
Tdi\ Hane

Date of Service

WA28 leur

Process er Name DCA License No.
Benkimin Lamb 714g 2

Process Serving Agency Name/DCA License No.

Yenuns| DEA Kenco Drxees Serving Ms I2-Z—

Tam submitiing this form as: (7 A process seryér individual

a An authcrized representative of the process serving agency
- Signature OL.

_Date Llizly o}

IMPORTANT Pfocess servers and process serving agencies both must report the final result of the
traverse hearing to DCA within 10 days of learning the final result. See Title 6, Rules of the City of New
York 2-236(c). Use Part IE of this form to report the final result of the traverse hearing.

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 4 of 12

Department of
Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES
PART IL- REPORT OF FINAL RESULT

You must attempt to contact the petitioner/plaintiff or the petitioner/plaintiff’s attorney by U.S, mail
or e-mail to learn the final result of the traverse hearing. I you do not receive a response from the
petitioner/plaintiffor the petitioner/plaintiff’s attorney within 60 days of the scheduled hearing date,
you must search the court records for the final result of the traverse hearing. If you have not learned
the final result within 90 days of the scheduled hearing date, you must search the court records
again. Within 100 days of the hearing date, you must report to DCA either (1) the final result of the
traverse hearing OR (2) that you made a diligent attempt to learn the final result without success.

Note: “Decision reserved” is nota final result and you must continue to search for the final court
decision in accordance with the procedure summarized above.

Submit this form along with any attachments to DCA by e-mailing TraverseReports@dca.nyc. gov.

You are encouraged to attach a copy of the court’s decision to the report.

LEVON ACO Cd COI ON TASC)
‘Traverse was:
(© Sustained (improper service)

C) Overruled (proper service)

C] Settled (Please provide details below.)

a alfirm that [| attempted to contact plaintiff or plaintill’s attorney to learn the final result,
diligently searched the court file 60 and 90 days from the date of the scheduled hearing, but was
unable to learn final result,
€) Other (Provide details below, including any reason(s) that the traverse hearing was not held.)

Seen

an a f {

Signature LE tn. Date B loll

Print Name LEA hr (Pd, Si sta

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 5 of 12

Depariment of
Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES
PART IL- REPORT OF FINAL RESULT

You must atlempt to contact the petitioner/plaintiff or the petitioner/plaintiff's attorney by U.S. mail
or e-mail to Jearn the final result of the traverse hearing. If you do not receive a response from the
pelitioner/plaintilfor the petitioner/plaintiff’s attorney within 60 days of the scheduled hearing date,
you must search the court records for the final result of the traverse hearing. If you have not learned
the final result within 90 days of the scheduled hearing date, you must search the court records
again. Within 100 days of the hearing date, you must report to DCA either (1) the final result of the
traverse hearing OR (2) that you made a diligent attempt to learn the final result without success.

Note: “Decision reserved” is nota final result and you must continue to search for the final court
decision in accordance with the procedure summarized above.

Submit this form along with any attachments to DCA by e-mailing TraverseReports@dca.nyc. gov.
You are encouraged to attach a copy of the court’s decision to the report.

ESS CO CONTI SCH Loh,
‘Traverse was:

Sustained (improper service)

() Overruled (proper service)

C) Settled (Please provide details below.)

O) [affirm that | atempted to contact plaintiff or plaintiffs attorney to learn the final result,
diligently searched the court file 60 and 90 days from the date of the scheduled hearing, but was
unable to learn final result.

(J Other (Provide details below, including any reason(s) that the traverse hearing was not held.)

\ fo.

rr =
Signature Ze ZA / Bacpeeemne Date |

Print Name Feith pur | } L A LANCE cot

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 6of12

Civil Court of the City of New York Index No: CV-073546-06/BX
County of Bronx EATON AAC
LR CREDIT 10, LLC
. Plaintiff (s) REPORT OF A TRAVERSE
~against= HEARING

MARY CORTI
Defendant(s)

To: New York City Department of Consumer Affairs
Attn: Legal Division
42 Broadway, 9th Floor
New York, NY 10004

DONALD A: MILES

From: Hon.
Civil Court , Che of New York

County of Bronx
A traverse hearing was held before me in Part 3 on hag ws ( [S, 20 | 7.

on the sufficiency of service on index number CV-073546-06/BX.

The name of the process server is Dz Al FA-fq aw Ld my h

The license of the process serveris /@ Z / Y Ff ZL

Traverse was: ~~ Sustained ( Service was improper)
Overruled ( Service was proper)

Comments: ( was based on default of plaintiff/ plaintiff process server) other ke LAE ;

ho 209 Den’ oe, WO ZL2 Reig 4,

See copy of the decision attached

Date: {12 Joly : LD?

Judge, Civil Court

Civ GP 30 (Dec 2005)
Case 1:24-cv-04108-ALC Document 3-4 Filed 0 2 e 7 of 12
tye ( OLD

Civil Court of the City of New York _.).
County of ROLAL Index Number / 35 Yo ~&/ G
Part_ .

LR Cved/T IF, Lhe

Cleimant(s)/Plaintiff(s)/Betttrenerts)

against

DECISION/ORDER
Mary Cori;

Defendant

D+ dri S Leet i b Waversr ehal/~wy¢se S&S U“s[>: df

bhhicw (ALA, ke reo, fil Ee 22 tlh, a 7 cr [

Aa bebe Chie’ b's Me Loewe Yegcr vet) her wz ey’
2

5 i, AL Ww Cy ere, alagp Az. See Ibe, Cla I a. Cc Fz
demi ae petty a7 Vow OVA a Cipet =e fv O tte» ALL Cu ew Le,

wiles (Hf ES mos OSMorw Ee Ke vtitawwnty bp él- B-4 Yor,

LPT fe To Ler Eo sert DF Da c2t™ Ft Feo JL,

Titi 2 pale 20 fetgine bly tlc flit ith Bie yer

F a a f oe — cf a
UAAéen Cri eect bt DY eel.

Bhorth vb 0 Avy cs To Die fH eve FLL

fhe E < (Zz C4 Ve fe See ta 2 ‘tet ' Ex aa ieZ,.

P6672 Ar Alp OE) ce tS Ve fence et aaorbs P' >
ee

site

= a

a 3 Judge, Civil Court

CIV-GP-4) (January, 1998) a

\\
Case 1:24-cv-04108-A ogumente-4 led 5 Page 8 of 12

Civil Court of the City of New York
County of Lng (ALE Index Number_ (777 459 OS — GO

Part

laintiff(s)/Petitioner(s)

DECISION/ORDER

against

Defendant(s)/Respondent(s

SatVie wy Ef cy/é ©, Pilea og <r 7 7A

2d wei, Oe ba tacchagat G Cen fatyee kitetey tee
fees ete ely Dare ue LM Fifi ds Cuore ,/S

daep iia) Joe A.

Tho CIA-~4 (! Coles [2 Eos eS hehe ae eZ
byte Db: tye COSA

GLa
Date Judge, Civil Court
CIV-GP-41 (January, 1998) 4 DONALD A

JUDGE, CIVIL COURT
Case 1:24-cv-04108-ALC Document 3-4

Department of

Consumer Affairs

Filed 05/30/24 Page 9of12

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES

Process seryers and process serving agencies both must report a scheduled traverse hearing (hearing
contesting service) to the Department of Consumer Affairs (DCA) within 10 days of receiving oral
or written notice that such a hearing has been scheduled. See Title 6, Rules of the City of New York
§ 2-256(a). Use Part I of this form to report the scheduled hearing. Submit this form and any
attachments to DCA by e-mailing TraverseReports@dca.nyc.vov,

Nare: Both the process server and the process serving agency must each submit a completed Traverse
Report Form,

—

| Court Cy vv |

PART 1- REPORT OF HEARING

Date i a 2 Le q_

=o

Y Leon GO

Part

County Pron
Index No, ZIS(L IG

ludge N/A

Petitioner/Plaintitt

aravto Veyrep village, inc

voidlera Attorney (include firm's name)

COMSS Log t SIccble

i
LL.

Respondent Delendant

Jorn 1 Be

Responden/Defendant’s Attotney (ivelude Sirm’s name)

DCA License No,

lo 7 YG 2

PENCS

Press Set ee _

Lam submitting this form as:

QO Aprocess server individual
A sutortved representative for the process serving agency

Signature

pz

Date Blea

IMPORTANT: rbot and process serving agencies both must report the final result of the
traverse hearing to DCA within 10 days of learning the final result. See Title 6, Rules of the City of
New York § 2-236(c). Use Part II of this form to report the final result of the traverse hearing.

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 10 of 12

Department of
Consumer Affairs

TRAVERSE REPORT FORM FOR PROCESS SERVERS/AGENCIES

PART HT REPORT OF FINAL RESULT

You must attempt to contact the pettioner’plainull or the petitioner/plainuilt’s atiorney by U.S. mail
or e-mail ta learn the final result of the waverse hearing. you do not reevive a response fram the
pebtonen plain or the petitioner/plainti{f’s attorney within 60 days of the scheduled hearing date,
you must seareh the court records for the final result of We traverse hearing. [you have not learned
ihe final result within 90 days of the scheduled hearing date, you must seareh the court records

in 100 days of the hearing date, you must report to DCA either (1) the final result of the

awain, Witt
diligent attempt te dear the Anal result without success.

ww OR (2) thar you made ¢

sult and Mou must continue te search for he final court

any re Pectin ‘ as ‘
Ioecision reserved” 1s NOW GMs Fs,

decision Tn accordance with the procedure summarized ahove

vd

ie

Subant this form along with any attachments to DUAN by e-mailing 1 raverseheportsy:

You are encouraged to attach a copy of the court's decision to the report,

lraverse Wis:
LJ Sustained (improper service)
iT) Overruled (proper service)
[Lo Sealed (Please provide details below.)
iC) Latfirm that [attempted to contact plaintiff or piaindil’s attorney to learn the final result,
| diligently searched the court file 60 and 90 days from the date of the scheduled hearing, but was

; Woable to learn final result.

is not held.)

MO C05 BOI ness Sener
. Banjanin ben’ |
nae p[zo

SMES

Mint Name

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 11 of 12

Civil Court of the City of New York
County of Bronx

Index No: CV-046199-08/BX

UO A

LR CREDIT 17, LLC
Plaintiff (s)
-against-
AMERICO SANTIAGO
Defendant(s)

REPORT OF A TRAVERSE
HEARING

To: New York City Department of Consumer Affairs
Attn: Legal Division
42 Broadway, 9th Floor
New York, NY 10004 RT
AUL L. ALPE
Gupce, civiL COURT
From: Hon.
Civil Court , City of New York
County of Bronx

A traverse hearing was held before me in Part 4 a on

Seplenmaa We iH

on the sufficiency of service on index number CV-046199-08/BX.

The name of the process server is Benn CLUYyN\"N\ Lou's

The license of the process server is tot] 41 2

Traverse was: ) Sustained ( Service was improper)

Overruled ( Service was proper)

Comments: ( was based on default of plaintiff/ plaintiff process server) other De CiISDR Naren on
Aravtr of planhet OUND plamntt S&S PLCESS _GeAvik

See copy of the decision attached

Date: AN \ iY

Judge, Civil Court

Civ GP 30 (Dec 2005)

_ PAUL Y. ALPERT
JUDGE, CIVIL COURT

of the
City of New York

SEF 14 20%

ENTE Ry
BROM ERED

Case 1:24-cv-04108-ALC Document 3-4 Filed 05/30/24 Page 12 of 12

Civil Court of the City of New York

County of _ R@on.r Index Number CV~- 864 4\9%-093
Part “3% ‘

LR Ceeoit 4 ere

Claimant(s)/Plaintiff(s)/Petitioner(s)

against DECISION / ORDER
Anorico Sambosd

Defendant(s)/Respondent(s)

Duty nobler bans heer Set fox & — TRavenae
Woes, Woey Wy a feds aholon of tue tort
Vs honehy  drxmissen based pon Plantilt "Ss  cAeter lt -
Tekwront Wr apyeonen pvt Plame .  uwhtt's
ocr, Sent ror faled bo opycar - The drawer de
Svat ann tre mo ton Go Wismsm hy
lover. ok QesSonoA queiscichon oven A aburstourk ,

The Adela it Plc end is heneby  Vvatalen any ats
Dowie ount MSbeounts Wade PUMA rLKAS ard _ tree
leans | bens Qe Aso Vaeadeol .

Plant? ~% Aitectt tp  arhyen wy |alt Ants colkceo
(Kh tonnethion wit. tne Ole qeramrent fo De lenolowel -
ia ansliks Mar Attisinrd onoed oot tae Count.

Of the — |
City of New York :
a a 14 SEP 14 2014
ENTERED vil Oburt
Date Judge, Civil Court
- BRONX COUNTY PAUL L. ALPERT

CIV-GP-4) January, 1998) YUDGE, CIVIL COURT
